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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

Robert H. Arents,

               Plaintiff,

               v.                                          Case No. 1:17cv184

Norfolk Southern Corporation,                              Judge Michael R. Barrett

               Defendant.

                                            ORDER

        Pursuant to notification by the Magistrate Judge on December 14, 2020 that this matter

is settled;

        It is ORDERED that this action is hereby DISMISSED with prejudice, provided that any

of the parties may, upon good cause shown within thirty (30) days, reopen the action.

        The Court retains jurisdiction.

        IT IS SO ORDERED.


                                                            s/Michael R. Barrett
                                                           Michael R. Barrett, Judge
                                                           United States District Court
